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                                                                                   RECEIVED
                      Freedom of Information Act (FOIA) Request
                                                                                          MAY 13 2025
                                                                                         U.S. DISTRICT COURT
Date: May 2, 2025                                                                  EASTERN DISTRICT OF LOUISIANA
                                                                                           DEPUTY CLERK
To: Clerk’s Office, United States District Court for the Eastern District of Louisiana

 Subject: FOIA Request for Clerk Activity Logs, Internal Communications, and EDSS
 Submission Metadata



pursuant to the Freedom of Information Act and applicable federal public records laws, I
respectfully request access to and copies of the following records maintained by the
Clerk’s Office of the Eastern District of Louisiana relating to Case No. 2:25-cv-00197;


• Clerk activity logs and docket metadata (including timestamps and personnel
identifiers) from April 23, 2025 through May 2, 2025, especially relating to Rec. Docs.
 174, 182, 183, 185, 186, and 187.

• All internal emails, messages, notes, or task assignments among Clerk staff (including
but not limited to those signed as “jls,” “mmm,” “lag,” and “cf’) referring to Plaintiff
Hiran Rodriguez, filings submitted via EDSS, or the entry of the above-referenced Rec.
Docs.


 • EDSS system logs and submission metadata for all filings attempted or received
 between April 23 and May 2, 2025, including upload confirmation details, access logs,
 format conversion actions, and any system notices.


This request is necessary to investigate ongoing procedural anomalies, including the
appearance of unauthorized alterations to court filings and administrative interference
with EDSS submissions. This period includes Rec. Doc. 183, which Plaintiff alleges was
not filed as submitted, and Rec. Docs. 186-187, which imposed significant restrictions on
future filings.

 For purposes of identifying responsible parties and documenting procedural actions, it is
 important to confirm which clerk personnel handled or altered filings during this time.
 Rec. Doc. 174 (filed 04/23/2025) was the last known entry attributed to (lag) before Rec.
 Doc. 186 and 187 (entered 04/30/2025), supporting the need for metadata linkage.


 I request that these records be produced in digital PDF format or native format where
 applicable. If any portions are withheld, please provide the legal justification and index of
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withheld materials under FOIA exemption standards.


Respectfully submitted.

Hiran Rodriguez

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Without Prejudice - Without Recourse

Preserving all claims for judicial misconduct, procedural irregularity, and constitutional

injury imder 28 U.S.C. §§ 144, 455, and 351; and reserving all rights to appeal, object,

and seek sanctions under Rule 11, Rule 55, Rule 60(b), and Article III.

No joinder to any corporate, commercial, administrative, or inferior jurisdiction.

No tacit agreement presumed; no consent granted where none is explicitly
expressed.
